Case 1:23-cv-03721-SCJ Document 1-118 Filed 08/21/23 Page 1 of 13




                  EXHIBIT B-107
      Case 1:23-cv-03721-SCJ Document 1-118 Filed 08/21/23 Page 2 of 13

                                                                              I
                                                                                                  FILEDINOFFICE
                                                                              I

                                                                              I
                                 .                       I
                      IN THE SUPERIOR COURT OF FULTON COUNT                       I




                                        STATE OF GEORGIA                          I
                                                                                  i

INRE:                                            )                                    I
SPECIAL PURPOSE GRAND JURY                       )      2022-EX-000024
                                                 )
Witness:                                         )      Judge Robert C. I. McBurney
Eric Daniel Herschmann                           )


    CERTIFICATE OF MATERIAL WITNESS PURSUANT TO UNIFORM ACT TO
  • SECURE THE ATTENDANCE OF WITNESSES FROM WITHOUT THE STATE,
      CODIFIED IN THE STATE OF GEORGIA AS O.C.G.A. § 24.,.13-90ET SEQ.

       Upon the petition of Fani T. Willis, District Attorney, Atlanta Judicial Circuit, pursuant to

the Uniform Act to Secure the Attendance of Witnesses from Without the State, codified at

O.C.G.A. § 24-13-90 et seq., the Court issues the following Certificate under seal of this Court,

and further says as follows:

       1. A Special Purpose Grand Jury investigation commenced in Fulton County, Georgia,

              by order of this Court on May 2, 2022. See Order Impaneling Special Purpose Grand

              Jury Pursuant to O.C.G.A. § 15-12-100, et seq., "Exhibit A". Tp.e Special Purpose
                                                                                          i

              Grand Jury is authorized to investigate any and all facts and circumstances relating

              directly or indirectly to possible attempts to disrupt the lawful administration of the

              2020 elections in the State of Georgia. See Letter Requesting Special Purpose Grand

              Jury, "Exhibit B".

       2. While Georgia law authorizes special purpose grand juries to conduct both civil and
         ,,
         ' criminal investigations, the Special Purpose Grand Jury's investigation is criminal in

         1
          1   nature in that it was requested for the purpose of investigating criminal disruption/,
          I                                                                                   ,

              related to the 2020 elections in Georgia, and the Special Purpose!!Grand Jury is
Case 1:23-cv-03721-SCJ Document 1-118 Filed 08/21/23 Page 3 of 13



                                                                  i
    authorized to make recommendations concerning criminal prJsecution. Further, the

    authority for a special purpose grand jury to conduct a criminli investigation has been
                                           .                      I
    upheld by the Supreme Court of Georgia. See State v. Lampl, 2.96 Ga. 892 (2015).
                                                                  I
    Accordingly, the provisions of the Uniform Act to Secure the kttendance of
                                                                  I




    Witnesses from Without the State apply pursuant to O.C.G.A. § 24-13-92 et seq.

 3. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that Eric Daniel Herschmann, born

    May 7, 1962, (hereinafter, "the Witness") is a necessary and material witness to the

    Special Purpose Grand Jury's investigation. The Court further finds that the Witness

    currently resides in Austin, Travis County, Texas.

 4. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that from approximately August 3,

    2020, through January 21, 2021, the Witness served as a senior adviser to former

    President Donald Trump and was present for multiple meetings between former

    President Trump and others related to the 2020 election.

 5. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that according to information made
                                                                      I

                                                                      i
    publicly available by the United States House of Representativ9s Select Committee to

    Investigate the January 6th Attack on the United States Capitol~the Witness testified
                                                                      I
    to the Committee that had multiple conversations with John Ea~tman, Rudy Giuliani,
Case 1:23-cv-03721-SCJ Document 1-118 Filed 08/21/23 Page 4 of 13




           Sidney Powell, and others known to be associated with the T            •p Campaign, related

]!,        to their efforts to inf!uence the results of the November 2020 llections in Georgia and
,[

i:,I.
f          elsewhere .

.6. Based on the representations made by the State in the attached "Petition for
               .                                      .         . I          . .
                                                               .          I             .       .
           Certification of Need for Testimony Before Special Purpose Qrand Jury Pursuant to.

           O.C.G.A. § 24-13-90 et seq.", the Court finds that according t0 information made
                                                                          I
                                                                          I                 •

                                                                          I
           publicly available by the United States House of Representati~es Select Committee to

           Investigate the January 6th Attack on the United States Capitol, the Witness testified

           to the Committee that on January 7,.2021, he had a heated conversation with John

           Eastman specifically concerning efforts in Georgia, at the conclusion of which the

           Witness told Eastman, "Get a great f'ing criminal defense lawyer. You're gonna need

           it."

     7. Based on the representations made by the State in the attached )"Petition for
                                                                       I
       • Certification of Need for Testimony Before Special Purpose Gtand Jury Pursuant to

           O~C.G.A. § 24-13-90 et seq.", the Court finds that according t~ the United States

           Senate Judiciary Majority Staff Report "Subverting Justice: How the Former

           President arid His Allies Pressured DOJ to Overturn the 2020 ~lection," the Witness
                         .          .                                         I

           was present at a widely-reported meeting at the White House between former
                                                                              I




     :,, President Trump, former Acting Attorney General Jeffrey Ros9n, former Acting
     ,,
     I,
     !1• United States Deputy Attorney General Richard Donoghue, fo~er               White House
     ii'
     ii                                                               i
     ii Counsel Pat Cipollone, and others, on January 3, 2021. The focus of the meeting was
     Ji whether to fire Rosen and replace him with Jeffrey Clark, a:Debartment of Justice
                                                                              I


           attorney who had supported sending a letter from the Departm,nt of Justice. to
Case 1:23-cv-03721-SCJ Document 1-118 Filed 08/21/23 Page 5 of 13




        Georgia Governor Brian Kemp and other high-ranking Georgia officials

             - d"mg th e cru
        recommen          ....
                            ll"
                                mg of a spec1"al Iegis
                                                    • Iat1ve
                                                         • session • GIeorgia.
                                                               • lif       • R osen was

       _ultimately not fired, and the letter was ultimately not sent.

•8. Based on the representations made by the State in the attached "Petition for
                                                                            I
                                                                            I
                                                                            !

        Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to
                                                                            I




        O.C.G.A. § 24-13-90 et seq.", the Court fi_ndsthat according tbI media reports,
                                                                                     •
                                                                                        the

        Witness was also present for a meeting at the White House on;December 18, 2020,
                  '
                                                                    '           '


        between former President Trump, Sidney Powell, Michael Flynn, and others known
                                                                                I
                                                                                i
        to be associated with the Trump Campaign to discuss topics iricluding invoking

        martial law, seizing voting machines, and appointing Powell as a special counsel to·

        investigate the 2020 election. According to media reports, the Witness was highly

        critical of the meeting.

 9. Based on the representations made by the State in the attached<"Petition for

        Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

        O.C.G.A. § 24-13-90 et seq.", the Court finds that the Witness; based on his former
           .                                                 -.         -           l

        position as a senior advisor to former President Trump, his rel¢vant conversations

        with individuals known to be-associated with the Trump Campaign, and his presence

        at multiple relevant meetings, is a necessary and material witness. The Witness

 :l     possesses unique knowledge concerning the communications between himself, the
 ",·
 'i
 !i     Trump Campaign, and other known and unknown individuals involved in the multi-
 i:                    . '                                                              i   '                  '
        state, coordinated efforts to influence the results of the November2020 election in
                              .             -                                       -I


        Georgia and elsewhere. Finally, the Witness's anti~ipated tes,,ony                      is essential in·
Case 1:23-cv-03721-SCJ Document 1-118 Filed 08/21/23 Page 6 of 13




            that it is likely to reveal additional sources of information regkdirig the subject of this ,

            investigation.
•;.
!1            '                      .                                            '
::10. The testimony of the Witness will not be cumulative of any otp.er evidence in this
!!                                                                                I          •
,1                                                                                '.

            matter.                                                               l
                                                                                  I
 J I. The Witness will be required to be in attendance and testify bJfore the Special
            Purpose Grand Jury on Tuesday, November 22, 2022, at 9:00 a.m, at the Superior
                                 -                .              -                I                    .
            Court of Fulton County, Fulton County Courthouse, 136 PryorI Street, 3rd Floor,
                                                                                      ..
                                                                                   i

            Atlanta, Georgia 30303. The Court notes that the District Attopiey reasonably
                                                                                   I


            anticipates that the Witness's testimony will not exceed one day.

 •12. The Office of the Fulton County District Attorney, in and for the· State of Georgia,
                                                                              . i
            will pay all reasonable and necessary travel expenses and witness fees required to

            secure the Witness's attendance and testimony, in accordance with O.C.G.A. §24-13-

            90 et seq.
                                                                                       i
 ·13.The Witness shall be giv~n protection from arrest and from seivice of civil or
            criminal process, both within this State and in any other state ¢rough which the
                                                                                       '

            Witness may be required to pass in the ordinary course of travel, for any matters

            which arose before the Witness's entrance into this State and other states, while
                                                                                       i

            traveling to and from this Court for the purpose of testify1ng fdr this case.
     '                                                                        •

     i4. The State of Georgia is a participant in a reciprocal program pioviding for the
                                              •



     11               J                                                                [


     'I
     ill.                    '
            securing of witnesses to testify in foreign jurisdictions which       lif' ewise provide for
            such methods of securing witnesses to testify in their courts.

     ii
     'I
       Case 1:23-cv-03721-SCJ Document 1-118 Filed 08/21/23 Page 7 of 13




         15. This Certificate is made for the purpose of being presented to a judge of the District

             •• Court of Travis County, Texas, by the District Attorney ofTrJvis County, Texas, or
                                                         .                . I
               his duly authorized representative, who is proceeding at the re4uest and on behalf of
                       .                                                     I
                                                                             I

               the Office of the Fulton County District Attorney.            \
                           .                                          ,       I
        WITNESS MY HAND AND SEAL as a judge of the Superior C9urt of Fulton County,
         •                                                                    i




. Georgia,
                    --,1\.
        .This the---+-- day of October, 2022.




                                                        H_pn.Robert . . McBur:iJ.cy
                                                       . Superior Court of Fulton County
                                                         Atlanta Judicial Circuit
                                                         State of Georgia
Case 1:23-cv-03721-SCJ Document 1-118 Filed 08/21/23 Page 8 of 13




                     Exhibit A
   Case 1:23-cv-03721-SCJ Document 1-118 Filed 08/21/23 Page 9 of 13




[N RE:    REQUEST FOR
          SPECIAL PURPOSE
          GRAND JURY

                 OJRDER APPROViING REQUEST FOR SPECIAL PURPOSE
                 GRAND JURY PURSUANT TO O.C.G.A. HS-12-100, et seq.

         The District Attorney for the Atlanta Judicial Circuit submitted to the judges of the .

Superior Court of Fulton County a request to impanel a special purpose jury for the purposes set

forth in that request. This request was considered and approved by a majority of the total

number of the judges of this Court, as required by O.C.G.A. §15-12-lO0(b).

         IT [S THEREFORE ORDERED that a special purpose.grandjury be drawn and

impaneled to serve as provided in O.C.G.A. § 15-12-62.l, 15-12-67, and 15-12-100, to

commence on May 2, 2022, and continuing for a period not to exceed 12 months. Such period

shall not include any time periods when the supervising judge determines that the special

purpose grand jury cannot meet for safety or other reasons, or any time periods when normal

court operations are suspended by order of the Supreme Court of Georgia or the Chief Judge of

the Superior Court. The special purpose grand jury shall be authorized to investigate any and all

facts and circumstances relating directly or indirectly to alleged violations of the laws of the

State of Georgia, as set forth in the request of the District Attorney referenced herein above.

         Pursuant to O.C.G.A. § 15-12-101(a), theHonorableRobertC. I. McBumeyishereby

assign~d to supervise and assist the special purpose grand jury, a.ridshall charge said special
                                                                                 I



purpose grand jury and receive its reports as provided by law.
   Case 1:23-cv-03721-SCJ Document 1-118 Filed 08/21/23 Page 10 of 13
                                                                            I
                                                                            I
                                                                            I
       This authorization 3hall include the investigation of any overt acts brpredicate acts

relating to the subject of the special purpose grand jury's investigative puiose.   The special

puq:iose grand jury, when making its presentments and reports, pursuant to,O.C.G.A. §§ 15-12-

71 and 15-12-101, may make recommendations concerning criminal prosecution as it shall see

fit. Furthermore, the provisions of O.C.G.A. § 15-12-83 shall apply.

       This Court also notes that the appointment of a special purpose grand jury will permit the

time, efforts, and attention of the regular grand jury(ies) impaneled in this Circuit to continue to

be devoted to the consideration of the backlog of ctiminal matters that has accumulated as a

result ofthe COVID-l 9 Pandemic.

        IT IS FURTHER O...~........_~.,_,D~this Order shall be filed in the Office of the Clerk of
                                   ·,I·.1 '-'\
the Superior Court of Fulto Countv-~          '\.

                                        A~~D7                             ,2022.



                                     ,, ~l
        SOORDERED,TH\




                                CHRISTOPBER S. BRASHER~IEF                IDDGE
                                Superior Court of Fulton County
                                Atlanta Judicial Circuit
Case 1:23-cv-03721-SCJ Document 1-118 Filed 08/21/23 Page 11 of 13




                        Exhibit B
        Case 1:23-cv-03721-SCJ Document 1-118 Filed 08/21/23
                                                         I   Page 12 of 13
                                                                              I

                                                                              I


                                                   .                          I
                      OFFICE OF THE FULTONCOUNTI DISTRICTATTORNEY
                                  ATIANTAJUDICLAL
                                               CIRCUIT                            I
                               136PRYORSTREETSW,3RDFLOOR
       "'T7-'='r-J,i~
                                   ATLANTA,
                                          GEORGIA30303
~r11t ::Y.·q11-r1//i,j                                        TELEPHONE404-612·4639
DistrictAr~omey
        ·i



    The Honorable Christopher S. Brasher
                                                                              iD2-2.·-.£x- DODD/7
    Chief Judge, Fulton County Superior Court                                     ·FILED IN OFFICE
    Fulton County Courthouse                                                                           J)
    185 Central Avenue SW, Suite T-8905
    Atlanta, Georgia 30303                                                            0E
                                                                              I
                                                                              I

                                                                                      '    FULT


    January 20, 2022

    Dear Chief Judge Brasher:

    I hope this letter finds you well and in good spirits. Please be advised that the District Attorney's
    Officehas received information indicating a reasonableprobability that the State of Georgia's
    administrationof elections in 2020, includingthe State's election of the President of the United
    States, was subject to possible criminal disruptions. Our office has also learned that individuals
    associatedwith these disruptions have contacted other agencies empowered to investigate this
    matter, including the Georgia Secretary of State, the Georgia Attorney General, and the United
    States Attorney's Office for the Northern District of Georgia,leaving this office as the sole
    agency with jurisdiction that is not a potential witness to conduct related to the matter. As a
    result, our office has opened an investigation into any coordjnatedattempts to unlawfully alter·
    the outcome of the 2020 elections in this state. '

    We have made efforts to interview multiple witnesses and gather evidence, and a significant
    number of witnesses and prospective witnesses have refused to cooperate with the investigation
             a
    absent subpoena requiring their testimony. By way of example, Georgia Secretary of State
    Brad Raffensperger, an .essentialwitness to the investigation,has indicated that he will not
    participate in an interview or otherwise offer evidence until he is presented with a subpoena by
    my offi6e.
            ,,
               Please see Exhibit A, attached to this letter.                    •

    Therefm;e,I am hereby requesting, as the elected District Attorney for Fultqn County, pursuant
    to o.c.q.A.   § 15-12-100 et. seq., that a special purpose grandjury be impaµeled for the purpose
    of investigatingthe facts and circumstances relating directiy or indirectly to\possible attempts to
    disruptthe lawful administration of the 2020 elections in the State of Georgia. Specifically, a
    special purpose grand jury, which will not have the authority to return an in~ctrnent but may
    make recommendations concerning.criminal prosecution as it shall see fit, i~ needed for three
    reasons: first, a special purpose grand jury can be impaneled by the Court fbr any time period
    required in order to accomplish its investigation, which will likely exceed a normal grandjury
                       Case 1:23-cv-03721-SCJ Document 1-118 Filed 08/21/23 Page 13 of 13




       term; second, the special purposegrandjurywould be empoweredto revi~wthismatterandthis
                                                        .                      I
       matter only, with an investigatory focus appropriateto the complexity of the facts and       •
       circumstances involved; and third, the sitting grandjury would not be re~uired to attempt to
       address this matter in addition to their normal duties.
                  1\
                  \I                                                                          -
       Additionally, I am requesting that, pursuant to O.C.G.A. § 15-12-101,a Fulton County Superior
       Court Judge be assigned to assist and supervisethe special purpose grand jury in carrying out its
                                                                               1
       investigation and duties.

       rhave attached a proposed order impanelingthe special purpose grandjury for the consideration
                                                                                I

       of the Court.

     \nespectfult,
       \                             \
                                         1/
                                          !~
<~u
'-
      ~~\_..=_....;__.::.........;..__             __




            istridt Attorney, Atlanta Judicial Circuit
                                                         _




        ExhibitA: Transcript of October 31, 2021 episode of lvfeetthe Press on N~C News at 26:04
        (video archived at https://www.youtube.com/watch?v=B7lcBRPgt9k)
        ExhibitB: ProposedOrder•

       cc:
       The Hd~orable Kin1berly M. Esmond Adams
       The Hohorable Jane C. Barwick
       The Honorable Rachelle Carnesdale
       TheHonorableThomasA. Cox,Jr.
       The Honorable Eric Dunaway
       The Honorable Charles M. Eaton, Jr.
       The Honorable Belinda E. Edwards
       The Honorable Kelly Lee Ellerbe
       The Honorable Kevin M. Farmer
       The Honorable Ural Glanville
       TheHon~rableShakuraL. Ingram
       TheHonorableRachelR. Krause
                               :i'             I


       The Honqrable Melynee Leftridge
       TheHontirableRobertC.I.1\IIcBumey
              'I
       The Honorable
               Ii
                     Henry
                      .
                           M. Newkirk
       The Honorable Emily K. Richardson
     . The HonolrableCraig L. Schwall, Sr.
       The Honorable Paige Reese Whitaker
      The Honorable Shermela J. \Villiams
      Fulton County Clerk of Superior Court Cathelene "Tina" Robinson
